 

* Case 1:23-cr-00026-RCL Document 6 Filed 01/26/23 Page 1 of 1

AG 442 (Rev. 01/09) Arrest Warrant

 

UNITED STATES DISTRICT COURT

for the

District of Columbia

 

United States of America
¥v.

)
WILLIAM BROCK ) Case No.

)

)

Defendant

ARREST WARRANT

To: — Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) WILLIAM BROCK ee ee ’
who is accused of an offense or violation based on the following document filed with the court:

@ Indictment O Superseding Indictment O Information © Superseding Information © Complaint
© Probation Violation Petition O Supervised Release Violation Petition © Violation Notice O Order of the Court

This offense is briefly described as follows:

18 U.S.C. §§ 1951(a) and 2 - Interference with Interstate Commerce by Robbery

18 U.S.C. §§ 2113{a) and 2 - Bank Robbery

18 U.S.C. § 1951(a) - Interference with Interstate Commerce by Robbery

18 U.S.C. § 2113(a) - Bank Robbery

18 U.S.C. § 924(c)(1}(A}{li) - Using or Carrying a Firearm During and in Relation to, or Possessing a Firearm in

Furtherance of a Crime of Violence
Zia M. Faruqui
RS 2023.01.24 16:25:44
-05'00'

issuing officer's signature

Date: 01/24/2023

 

City and state: Washington, DC ___ ZAM. FARUQUI, U.S. Magistrate Judge
Printed name and title

 

Return

 

i. i i
This warrant was received on (dae) (/25/ZOZ3 _ , and the person was arrested on (dey _// C6 /2025

at (city and state)

Date: (/26 fzozs

 

 

 

STEWART Curt BKleaat. AGEVT FEI

Printed name ghd title

 

 

 
